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                       IN THE UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF ARKANSAS
                                 DELTA DIVISION


CINCINNATI INSURANCE COMPANY                                                   PLAINTIFF

v.                            Case No. 2:19-cv-00115 KGB

ANDREA DIEVERNICH, et al.                                                  DEFENDANTS

                                          ORDER

       Pending before the Court is a motion for default judgment against separate defendants

Becky Alexander, Sammy Arnett, III, Stacy Arnett, Dana Austin, Amod Bailey, Terrace Bailey,

Sr., Terrace Bailey, Jr., Nicole Baker, Eric Bolden, Rance Bolden, Rashuna Boldien, Adrienne

Boone, DeMarcus Borum, Aeshia Brown, Cachet Brown, Richard Brown, Timothy Bryant, Jerry

Burks, Armonie Calhoun, Terrance Calhoun, Andrea Dievernich, Clayton Dyer, Jeff Dyer, Brian

Eaton, Jameshia Edmond, Eddie Evans, Daluis Fields, Yavarious Frazier, Mattie Hardin,

Caldreekious Harrell, Tasha Harrell, Markese Harris, Sharmarcus Heard, Hickory Hill Pharmacy,

Tashia Holder, Eboni Holloway, Cleo Hunter, Brian Jackson, William Jackson, Kaddarrian Jones,

Lola Jones-Stevenson, Orra Lacey, Jayla Lemon, Silas Marshall, Andrew Mattson, Sha’kiera

McGaughy, Jamarius McGee, Kimberly McKinney, Daitrion McMinney, Richard Moore, Patrick

Mugridge, Jakahriyah Owens, Jasmine Pruitt, Cynthia Redmond, Joseph Robinson, Sariah

Robinson, Justin Rogers, Kamedra Rogers, Pam Rogers, Demarcus Sheard, Shalanda Smith, Erica

Speed, Tykiah Speed, Dewayne Stackhouse, Mamie Stevenson, Tommy Lee Stevenson, Tandria

Thomas, Malek Trotter, Walter Vaughn, Crystal Williams, Michelle Williams, Ra’Shanna

Williams, Calvin Willis, Syieed Wilson, Aaron Wright, Debra Wright, Janet Marie Wright

(collectively “Separate Defendants”) filed by plaintiff Cincinnati Insurance Company, Inc.
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(“Cincinnati”) (Dkt. No. 92). The time for responding to Cincinnati’s motion for default judgment

against Separate Defendants has passed, and no party has responded to the motion. Pursuant to

Local Rule 7.2(f) of the Local Rules of the United States District Court for the Eastern and Western

Districts of Arkansas, failure to respond timely to any nondispositive motion as required by the

applicable rules shall be an adequate basis, without more, for granting the relief sought in the

motion.

       However, this Court granted Cincinnati’s motion for leave to file an amended complaint

(Dkt. No. 90), and Cincinnati filed its second amended complaint (Dkt. No. 140). Separate

Defendants are named in Cincinnati’s amended complaint (Dkt. No. 140).1 As a result, the Court

denies without prejudice Cincinnati’s motion for default judgment against Separate Defendants

(Dkt. No. 92). To the extent appropriate, Cincinnati may renew by separate motion its request for

default judgment against appropriate defendants.

       It is so ordered this 5th day of November, 2020.


                                                 Kristine G. Baker
                                                 United States District Judge




       1
         The Court notes that Terrance Calhoun, although named in the initial complaint and
motion for default judgment, is not a named defendant in the amended complaint (Dkt. No. 140, ¶
77). Cachet Brown is identified in the amended complaint as the natural guardian of plaintiff
Armonie Calhoun (Id.).
